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B6D (Official Form 6D) (12/07)



In re LaVerne Clifford Moter and Carol Moter                                                         ,                                    Case No. 13-12127-MM7
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated




              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien
                                                   Co-Debtor




                                                                                                                                       Deducting Value
                                                                                                                     Disputed




                  Account Number
              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   2640                                             C                                                                           $ 14,666.00                              $ 0.00

Creditor # : 1                                                     Automobile Loan
Avanti Federal Credit Union
P.O. Box 534
Watertoon SD 57201


                                                                   Value:   $ 15,145.00
Account No:   5286                                             C                                                                         $ 380,000.00                    $ 15,000.00

Creditor # : 2                                                     1st T.D.
Bank of the West
13505 California St.                                               227 White Stallion Circle,
NE-BBP-01-T                                                        Crested Butte, CO. 81224
Omaha NE 68154

                                                                   Value:   $ 365,000.00
1      continuation sheets attached                                                                             Subtotal $               $ 394,666.00                     $ 15,000.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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B6D (Official Form 6D) (12/07)   - Cont.



In re LaVerne Clifford Moter and Carol Moter                                                            ,                                    Case No. 13-12127-MM7
                           Debtor(s)                                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                 (Continuation Sheet)


                Creditor's Name and                            Date Claim was Incurred, Nature                                            Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                              Without                   Portion, If Any




                                                                                                                        Unliquidated
              Including ZIP Code and




                                                                                                                        Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor

                                                                                                                                          Deducting Value




                                                                                                                        Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                    of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:                                                    C                                                                            $ 200,000.00                    $ 65,000.00

Creditor # : 3                                                     1st T.D.
Frontier Bank
P.O. Box 7319                                                      Skyland Lot, Crested Butte,
Pueblo West CO 81007                                               CO. 81224


                                                                   Value:   $ 135,000.00
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                                 Subtotal $               $ 200,000.00                     $ 65,000.00
Holding Secured Claims                                                                                          (Total of this page)
                                                                                                                         Total $            $ 594,666.00                     $ 80,000.00
                                                                                                            (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report also on
                                                                                                                                       Schedules.)                  Statistical Summary of
                                                                                                                                                                    Certain Liabilities and
                                                                                                                                                                    Related Data)
